                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI



BILLIE RODRIGUEZ, DANIEL ERWIN,
MICHAEL B. ACKERMAN, and KYLE
FOREMAN, individually and on behalf of all
others similarly situated,

                              Plaintiffs,

       vs.                                           Case No. 4:24-cv-00803-SRB

EXXON MOBIL CORPORATION,
CHEVRON USA, INC., CHEVRON
PHILLIPS CHEMICAL CORPORATION,
DUPONT de NEMOURS, CELANESE
CORPORATION, DOW INC., DOW
CHEMICAL COMPANY, EASTMAN
CHEMICAL COMPANY,
LYONDELLBASELL INDUSTRIES N.V.,
AND AMERICAN CHEMISTRY COUNCIL,

                              Defendants.



      CONSENT MOTION TO EXTEND DEFENDANT CHEVRON U.S.A. INC.’S
          TIME TO ANSWER, RESPOND OR OTHERWISE PLEAD TO
         PLAINTIFFS’ COMPLAINT AND SUGGESTIONS IN SUPPORT

       COMES NOW Defendant Chevron U.S.A. Inc. (“Chevron U.S.A.”)1 by and through

counsel and moves that the Court enter an Order extending for 20 days Chevron U.S.A.’s deadline

to answer, respond by motion, or otherwise plead to Plaintiffs’ complaint up to and including




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  Chevron U.S.A. does not submit to the personal jurisdiction of this Court and expressly reserves
its right to raise such a defense in a separate motion brought under Rule 12(b)(2) of the Federal
Rules of Civil Procedure. See, e.g., Subway Intern. B.V. v. Cere, 2011 WL 3511462, at *3 (D.
Conn. Aug. 11, 2011) (holding that a defendant did “not waive[] the defense” that the court lacks
personal jurisdiction “by filing motions that raise separate issues.”).


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February 10, 2025. As discussed in the Suggestions in Support of this motion, Plaintiffs’ counsel

consents to the relief Chevron U.S.A. seeks.

         The Suggestions in Support of this Motion are incorporated by this reference and set forth

below.

                                 SUGGESTIONS IN SUPPORT

         In support of this motion, Chevron U.S.A. states as follows:

         1.     Counsel for Plaintiffs and Chevron U.S.A. conferred regarding the relief requested

herein. In a telephone conversation on January 15, 2025, Joshua Dick, counsel for Chevron

U.S.A., spoke with Rex Sharp, counsel for Plaintiffs, and discussed Chevron U.S.A.’s request to

extend by 20 days Chevron U.S.A.’s responsive pleading deadline up to and including February

10, 2025, and Plaintiffs, through counsel, agreed to such relief.

         2.     As of the date of this filing, Chevron U.S.A.’s time to answer, respond, or otherwise

plead to Plaintiffs’ complaint has not expired.

         3.     Plaintiffs served Chevron U.S.A. with the complaint on December 30, 2024.

Chevron U.S.A.’s current deadline to answer, respond, or otherwise plead to Plaintiffs’ complaint

is January 21, 2025. The consented 20-day extension would extend Chevron U.S.A.’s response

date to Monday, February 10, 2025.

         4.     Plaintiffs’ 92-page complaint contains 45 counts, alleges two nationwide putative

classes and 35 putative state classes, and implicates at least 45 different legal theories. Given the

complexity of the claims here, and due to the timing of service before the New Year holiday,

Chevron U.S.A. requests additional time to prepare its response to Plaintiffs’ Complaint.

         5.     During the proposed extension period and after all Defendants are served and

appear, the Parties may coordinate joint briefing, response dates, and briefing schedules.




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         6.     Chevron U.S.A. does not bring this motion to cause undue delay. Rather, Chevron

U.S.A. seeks in good faith to extend its responsive pleading deadline where the timing of service

over the holidays and the complexity of Plaintiffs’ claims have impacted Chevron U.S.A.’s time

to prepare its response.

         WHEREFORE, the Parties respectfully pray that the Court enter an Order granting the

relief Chevron U.S.A. requests in this motion, to wit:

         1.     Extending Chevron U.S.A.’s time to answer, respond, or otherwise plead to

Plaintiffs’ complaint, for a period of twenty (20) days up to and including February 10, 2025.


Dated:     January 16, 2025                  Respectfully submitted,

                                             BERKOWITZ OLIVER LLP

                                             By: /s/ Thomas P. Schult
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                                                Lauren Tallent, MO Bar # 72304
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                                                  Theodore J. Boutrous Jr. (Petition for
                                                  Admission pro hac vice forthcoming)
                                                  Christopher D. Dusseault (Petition for
                                                  Admission pro hac vice forthcoming)
                                                  Perlette Michèle Jura (Petition for Admission
                                                  pro hac vice forthcoming)
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                                              ATTORNEYS FOR DEFENDANT
                                              CHEVRON U.S.A. INC.



                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on January 16, 2025, I electronically filed the above
and foregoing document via the Court’s CM/ECF system, which will send notification of said
filing to all counsel of record.


                                              /s/ Thomas P. Schult
                                              ATTORNEY FOR DEFENDANT
                                              CHEVRON U.S.A. INC.




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